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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


GEORGE ZIMMERMAN,
                     Plaintiff,                 Case No: 8:20-cv-1077-CEH-CPT

       v.
PETE BUTTIGIEG and
ELIZABETH WARREN,
                     Defendants.


            DEFENDANTS’ MOTION FOR PROTECTIVE ORDER AND
                 INCORPORATED MEMORANDUM OF LAW

       Defendants Secretary of Transportation Pete Buttigieg and Senator Elizabeth

Warren, pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, move for a

protective order to prevent Plaintiff from taking their depositions or, in the alternative,

to impose certain conditions on the taking and use of the depositions. Defendants have

tried to negotiate with Plaintiff a confidentiality agreement and stipulation on these

depositions for the past month but have reached an impasse and must now seek relief.

                                   I.     Background

       Defendants currently serve in high-level federal governmental roles. Pete

Buttigieg is the Secretary of Transportation for the United States, and Elizabeth

Warren is a United States Senator for the Commonwealth of Massachusetts. Their

duties are essential and time-consuming. Moreover, as the attached sworn declarations

make clear (Exs. 1 and 2), while Senator Warren and Secretary Buttigieg generally
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authorized a process for others to write tweets for their Presidential accounts, both

have little information to share about the specific Tweets at issue in this case.

       Plaintiff seeks to depose both Senator Warren and Secretary Buttigieg. 1 In

response, Defendants offered various alternative ways of addressing Plaintiff’s

discovery needs in light of Defendants’ official government responsibilities and the

limited scope of their knowledge about the Tweets. Senator Warren and Secretary

Buttigieg initially proposed that Plaintiff take their depositions by written questions

pursuant to Federal Rule of Civil Procedure 31 or, preferably, that Plaintiff serve

interrogatories to Senator Warren and Secretary Buttigieg regarding the Tweets. In

addition, Defendants offered to make campaign staff who were actually involved in

preparing and posting their respective Tweets available for deposition in the first

instance, so that Plaintiff could thereafter gauge whether he would still need to depose

Secretary Buttigieg and/or Senator Warren.

       Plaintiff’s counsel rejected both proposals and suggested one-hour depositions

of Senator Warren and Secretary Buttigieg with disclosure of the questions in advance.

Defendants, attempting to resolve this issue in good faith, drafted a stipulation that

memorialized Plaintiff’s terms and added what Defendants assumed would be

uncontroversial terms that the depositions would be transcribed, but not videotaped,

and the parties would agree to keep the deposition testimony confidential consistent


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  Plaintiff has not yet noticed the depositions to occur, but has asked Defendants for available dates.
After the parties’ impasse, Defendants responded that they would be filing this Motion and confirmed
that in the event this Court rules the depositions should occur, Defendants would cooperatively
schedule the depositions with Plaintiff.


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with a proposed Confidentiality Agreement governing discovery. Plaintiff rejected

both the proposed stipulation and proposed Confidentiality Agreement. Despite

additional efforts, the parties’ discussions have reached an impasse.

       Senator Warren and Secretary Buttigieg now bring this motion for protective

order. In their answer to Plaintiff’s Second Amended Complaint, Defendants preserve

their defense of lack of personal jurisdiction and intend to brief the issue in their motion

for summary judgment. This motion should not be construed as a waiver.

                                    II.    Argument

       A.      The Court should issue a protective order that, at this stage of the
               case, precludes a deposition of Senator Warren and Secretary
               Buttigieg.

       Federal Rule of Civil Procedure Rule 26(c)(1) provides that “[t]he court may,

for good cause, issue an order to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1).

Rule 26 also provides a range of remedies that the Court may order, including

“forbidding the disclosure or discovery” or “prescribing a discovery method other than

the one selected by the party seeking discovery.” Id. at 26(c)(1)(A), 26(c)(1)(C).

       Good cause exists here. “Courts have long recognized that it may be appropriate

to limit or preclude depositions of high-level corporate officers or government officials

(commonly referred to as “apex” depositions).” Asberry v. Sch. Bd. of Pasco Cnty., No.

818-CV-02222-T-35SPF, 2019 WL 12383128, at *1 (M.D. Fla. Aug. 20, 2019) (citing

Chick-Fil-A, Inc. v. CFT Dev., LLC, No. 5:07-CV-501-OC-10GRJ, 2009 WL 928226, at




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*1 (M.D. Fla. Apr. 3, 2009)). This doctrine exists for good reason. “Virtually every

court that has addressed deposition notices directed at an official at the highest level

or ‘apex’ of corporate management has observed that such discovery creates a

tremendous potential for abuse and harassment.” Maronda Homes, Inc. of Fla. v.

Progressive Express Ins. Co., No. 6:14-CV-1287-ORL-31, 2015 WL 1565299, at *2 (M.D.

Fla. Apr. 8, 2015); see also In re United States, 985 F.2d 510, 512 (11th Cir. 1993)

(explaining that “[t]he reason for requiring exigency before allowing the testimony of

high officials is obvious. High ranking government officials have greater duties and

time constraints than other witnesses”). Secretary Buttigieg and Senator Warren are

exactly the type of high-level officials recognized as apex figures by courts.2

       The party seeking to depose a high-ranking government official bears the burden

to “show a special need or situation compelling such testimony.” In re United States,

985 F.2d at 512. Typically, taking depositions of high-ranking government officials

“should be discouraged.” Id. The principles governing protection from “apex”

depositions have been further incorporated in the Middle District of Florida Discovery

Handbook, which states that:

       If information is sought from an organization, counsel ordinarily should
       not seek in the first instance to take the deposition of the organization’s

2
  See, e.g., Blankenship v. Fox News Network, LLC, No. 2:19-CV-00236, 2020 WL 7234270, at *6 (S.D.W.
Va. Dec. 8, 2020) (granting protective order for depositions of Senators McConnell and Gardner and
collecting cases); Feldman v. Bd. Of Educ. Sch. Dist. #1 City and Cnty. of Denver, 2010 WL 383154, at *1
(D. Colo. Jan. 28, 2010) (“current U.S. Senator[] is a high-ranking government official, and any access
to such high-ranking government officials through the discovery process should not be without
limitations”); United States v. Morgan, 313 U.S. 409, 421-22 (1941) (opining that the district court
should not have required the Secretary of Agriculture to submit to a deposition); Peoples v. U.S. Dep’t
of Agric., 427 F.2d 561, 567 (D.C. Cir. 1970) (compelling testimony from a cabinet officer “is not
normally countenanced”).


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      senior management if someone else in the organization can be expected
      to have more direct and firsthand knowledge or information. Depositions
      are not properly used as a mechanism to inconvenience or distract senior
      management who may not be immediately involved in the dispute.

Middle      District     Discovery       (2021)      §     II(A)(6),      available      at

https://www.flmd.uscourts.gov/civil-discovery-handbook/chapter02/a-general-

policy-and-practice (last accessed Apr. 1, 2022).

      In order to take the deposition of high-level officials, the party requesting it must

show that the apex deponents—here, Secretary Buttigieg and Senator Warren—have

“unique knowledge of the issues in the case or the information sought has been

pursued unsatisfactorily through less intrusive means.” Goines v. Lee Mem’l Health Sys.,

No. 2:17-CV-656-FTM-29CM, 2018 WL 3831169, at *4 (M.D. Fla. Aug. 13, 2018)

(internal quotation omitted); see also McMahon v. Presidential Airways, Inc., No. 6:05–

cv–1002–Orl–28JGG, 2006 WL 5359797, at *2 (M.D. Fla. Jan. 18, 2006). A recent

Northern District of Florida opinion also describes the appropriate standard:

      Despite a civil litigant’s broad right to depose an opposing party, because
      depositions can be used to harass parties, the federal courts have adopted
      a rule that generally exempts “high-ranking” government officials from
      depositions when the individual lacks personal knowledge relevant to the
      case or some other witness could provide sufficient testimony. See
      generally United States v. Morgan, 313 U.S. 409, 421-22, 61 S. Ct. 999, 85
      L.Ed. 1429 (1941) (opining that the district court should not have
      required the Secretary of Agriculture to submit to a deposition); Sensient
      Colors, Inc., 649 F. Supp. 2d at 321 (“Morgan stands for the proposition
      that high-ranking government officials should not be subject to the taking
      of depositions absent extraordinary circumstances.”); 8A CHARLES
      ALAN WRIGHT, ET AL., FEDERAL PRACTICE AND
      PROCEDURE § 2037, at 176-77 & n.20 (3d ed. 2010) (noting that courts
      grant protective orders when “the proposed deponent is a busy
      government official, the official claims a lack of relevant knowledge” and
      “there appears a clear risk of abuse”).

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Odom v. Roberts, 337 F.R.D. 359, 363 (N.D. Fla. 2020).

      Here, Plaintiff has not sought to obtain the information he seeks through “less

intrusive means” or alternative sources. Plaintiff has not served any interrogatories on

Secretary Buttigieg or Senator Warren or any other written discovery. Plaintiff has not

requested depositions of staff personnel most knowledgeable who, as the attached

declarations show (Exs. 1 and 2), have more relevant and substantial knowledge of the

Tweets, and whom Defendants have offered to make available. Courts within this

district have found failure to exhaust other discovery methods significant in granting

motions for protective order. See, e.g., Bradley v. Lorillard Tobacco Corp., No. 8:13-CV-

227-T-30AEP, 2014 WL 12628519, at *2 (M.D. Fla. June 25, 2014) (granting motion

for protective order where plaintiff had not sought to depose any lower-level

employees with knowledge of the claims at issue, plaintiff had not sought the

information through other written discovery, or sought to depose the defendant’s

corporate representatives under Rule 30(b)(6)); R.F.J. v. Fla. Dep’t of Child. and Fams.,

Case No. 3:15-cv-1184-J-32JBT, 2017 WL 5306888, at *3 (M.D. Fla. June 8, 2017)

(“There appears no reason why Plaintiffs would need to depose a high-ranking official

regarding the proffered reason . . . instead of simply obtaining [documents] and

questioning a Rule 30(b)(6) witness about them if necessary”).

      Senator Warren’s and Secretary Buttigieg’s declarations affirm that they do not

have unique knowledge relevant to this case. (Exs. 1 and 2). As the sworn statements

set out, Senator Warren and Secretary Buttigieg’s 2020 presidential campaign staff



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were, with the Senator and the Secretary’s respective authorizations, primarily

responsible for drafting and publishing the Tweets at issue in the first instance.

(Id.)“[D]iscovery, like all matters of procedure, has ultimate and necessary

boundaries” and “[d]iscovery of matter not reasonably calculated to lead to the

discovery of admissible evidence is not within the scope of Rule 26(b)(1).” Oppenheimer

Fund, Inc. v. Sanders, 437 U.S. 340, 351–52 (1978) (internal quotations and citations

omitted). “The mere filing of a civil action does not entitle a party to engage in

unfettered discovery.” Gomez v. Empower “U”, Inc., Case No. 17-CV-22633, 2017 WL

4919224, at *3 (S.D. Fla. Oct. 31, 2017). “The party seeking discovery may only obtain

information directly relevant to the claims at issue.” People for Ethical Treatment of

Animals, Inc. v. Dade City’s Wild Things, Inc., Case No. 8:16-CV-2899-T-36AAS, 2017

WL 4410111, at *5 (M.D. Fla. Oct. 4, 2017). Here, there is little relevant information

that Senator Warren and Secretary Buttigieg possess that Plaintiff could not obtain

from alternative sources or (as discussed below) less burdensome forms of discovery.

        Protective orders are not at all uncommon under circumstances such as these.

For example, judges serving in the Middle District of Florida have regularly granted

orders to protect government officials from depositions. Asberry, 2019 WL 12383128,

at *1     (granting motion for protective order to prevent deposition of school

superintendent); Davis on behalf of J.D.D. v. Carroll, No. 8:16-cv-0998-T-35MAP, 2017

WL 11151858, *2 (M.D. Fla. July 24, 2017) (Secretary of the Florida Department of

Children and Family); Vidovic v. City of Tampa, No. 8:16-CV-714-T-17AAS, 2017 WL

10294804, *1 (M.D. Fla. Mar. 3, 2017) (city mayor); Slone v. Judd, No. 8:09-cv-1175-

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T-27TGW, 2011 WL 1584421, *1 (M.D. Fla. Apr. 26, 2011) (county sheriff); Rocker

v. Sheriff of Marion Cnty., Fla., No. 5:07-cv-465-OC-10GRJ, 2008 WL 11434586, *2

(M.D. Fla. Oct. 14, 2008) (same), objections overruled, No. 5:07-cv-465-OC-10GRJ,

2008 WL 11449341 (M.D. Fla. Nov. 25, 2008). And courts have similarly granted

orders protecting high-ranking or government witnesses from deposition, even when

they are a defendant in the action. The standard is still that “a litigant seeking to depose

a high-ranking official – even if that official is a party – must show that the official has

first-hand information that pertains to material issues in the case and that this

information is not otherwise available.” Davis, 2017 WL 11151858, at *2 (emphasis

added) (granting protective order for state Secretary of DCF); see also Rocker v. City Of

Ocala, Fla., 355 F. App’x 312, 315 (11th Cir. 2009) (affirming protective order for

deposition of defendant); Yarbrough v. Morgan, No. 3:13CV613/MCR/EMT, 2015

WL 13656987, at *2 (N.D. Fla. Aug. 4, 2015) (concluding that the plaintiff has failed

to show a special need for sheriff’s deposition, even though he is a party).

       B.      In the alternative, the Court should enter a protective order limiting
               any discovery directed at Senator Warren and Secretary Buttigieg,
               absent a showing by Plaintiff that such discovery is insufficient.

       Alternatively, and as Defendants offered Plaintiff in an attempt to avoid the

need for motion practice, any discovery directed specifically to Secretary Buttigieg and

Senator Warren should proceed through interrogatories, rather than through live

testimony. Courts have held that it is appropriate to require written discovery first, and

for the party seeking discovery to show such written discovery to be insufficient, before

courts will order depositions of high-ranking officials. Celentano v. Nocco, No. 8:15-CV-

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1461-T-30AAS, 2016 WL 4943939, at *3 (M.D. Fla. Sept. 16, 2016) (granting

protective order and holding that before deposing a high-ranking corporate official, a

party should explore other avenues of discovery, such as interrogatories or deposing

lower-level employees with more direct knowledge of the subject matter). Here,

written discovery will be sufficient to provide Plaintiff with information he seeks while

limiting the burden on Senator Warren and Secretary Buttigieg, two high-level federal

officials. See Yarbrough, 2015 WL 13656987, at *2 (cancelling deposition and ordering

plaintiff to pursue discovery through other means, including potentially written

deposition questions); Nw. Soc. & Civic Club, Inc. v. City of Atlanta, Ga., No. 1:04-CV-

1360-BBM, 2005 WL 8154814, at *2 (N.D. Ga. Feb. 10, 2005) (same); Argo Sys. FZE

v. Liberty Ins. PTE, Ltd., No. CIV.A. 04-00321-CGB, 2005 WL 1355060, at *4 (S.D.

Ala. June 7, 2005) (written depositions sufficient to balance interests).

       C.      If nothing else, the Court should enter a protective order curtailing
               the scope of any depositions of Senator Warren and Secretary
               Buttigieg and requiring confidentiality.

       If this Court concludes that Plaintiff is entitled to take these depositions, then

Senator Warren and Secretary Buttigieg respectfully request that the Court also order

the following protections, most of which Plaintiff’s counsel offered in the first instance.

First, Senator Warren and Secretary Buttigieg ask that the depositions be capped at

one hour. That amount of time should be sufficient to cover the narrow matters at

issue and respect Senator Warren’s and Secretary Buttigieg’s time as government

officials. Second, Senator Warren and Secretary Buttigieg request that the subject

matter of the deposition be limited strictly to the Tweets, Trayvon Martin, and George

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 Zimmerman—the topics of the lawsuit. Plaintiff should not be able to use these

 depositions as a fishing expedition into other matters. Third, Senator Warren and

 Secretary Buttigieg ask that the deposition materials be kept confidential and not

 publicly disclosed or disseminated, and that they be used only for purposes of this

 litigation. And should the filing of the depositions become necessary, Defendants

 request that such filing only be under seal pursuant to a requisite showing under Local

 Rule 1.11.

          Defendants attempted to facilitate a confidentiality agreement between the

 parties, but Plaintiff refused to engage. See United States v. Anderson, 799 F.2d 1438,

 1441 (11th Cir. 1986) (“Litigants should not be discouraged from putting their

 discovery agreements in writing, and district judges should not be discouraged from

 facilitating voluntary discovery”); see also Local Rule 3.01(g). Plaintiff’s unwillingness

 to engage at all in a discussion of confidentiality suggests that Plaintiff’s motives for

 the deposition are not related this litigation but instead are meant to harass or exploit

 Defendants. Indeed, Plaintiff has a history of monetizing controversies, including

 attempting to auction off the gun he used to shoot Trayvon Martin for thousands of

 dollars. See, e.g., Richard Luscombe, George Zimmerman sells gun used to kill Trayvon

 Martin     on   auction   site,   The   Guardian    (May     18,    2016,   1:24    PM),

 https://www.theguardian.com/us-news/2016/may/18/george-zimmerman-sells-

 gun-trayvon-martin; see also Alexander Abad-Santos, George Zimmerman Spent His

 Trayvon Kickstarter, So His Lawyers Want You to Pay Them, The Atlantic (May 29 2013),

 https://www.theatlantic.com/national/archive/2013/05/george-zimmerman-

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 defense-fund/314785/ (soliciting donations used for living expenses following

 shooting Martin). Plaintiff’s refusal to agree to a simple stipulation and confidentiality

 agreement — standard features of litigation—suggests that he hopes to use clips of

 Defendants’ testimony for his gain. Many “courts have imposed restrictions on the

 release of videotaped depositions for good cause shown.” Forrest v. Citi Residential

 Lending, Inc., 73 So. 3d 269, 278 (Fla. 2d DCA 2011).3

         Plaintiff’s counsel has referred to this matter as a “very public case.” But a

 “litigant has no First Amendment right of access to information made available only

 for purposes of trying his suit.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32 (1984).

 As noted by the United States Supreme Court in Seattle Times Co., “restraints placed

 on discovered, but not yet admitted, information are not a restriction on a traditionally

 public source of information.” Id. at 33. Discovery rules are “a matter of legislative

 grace,” and “[l]iberal discovery is provided for the sole purpose of assisting in the

 preparation and trial, or the settlement, of litigated disputes.” Id. at 32. Over time, “[as]

 pretrial processes have been enormously expanded, it has never occurred to anyone,


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   Forrest cites the following cases to support its point: Stern v. Cosby, 529 F. Supp. 2d 417, 423 (S.D.N.Y.
 2007) (prohibiting the release of the video or transcript of the defendant’s deposition, including
 excerpts, portions, or copies thereof, to the public absent further order of the court); Baker v.
 Buffenbarger, No. 03–C–5443, 2004 WL 2124787, at *4 (N.D. Ill. Sept. 22, 2004) (limiting the use of
 the defendants’ videotaped deposition testimony to purposes directly related to settlement and trial
 preparation in the case and prohibiting the dissemination of the depositions prior to
 trial); Paisley Park Enters., Inc. v. Uptown Prods., 54 F. Supp. 2d 347, 349-50 (S.D.N.Y. 1999) (imposing
 restrictions on the copying, storage, and dissemination of the video deposition of Prince, the well-
 known rock artist); Seaman v. Wyckoff Heights Med. Ctr., Inc., 8 Misc. 3d 628, 798 N.Y.S.2d 866, 871,
 873 (N.Y. Sup. Ct. 2005) (prohibiting dissemination of deposition and discovery materials to the press
 or any other persons except attorneys of record and imposing monetary sanctions on attorneys who
 delivered the only copy of the videotaped deposition of the president and chief executive officer of the
 defendant to persons associated with the television program, A Current Affair ), aff’d, 25 A.D.3d 598,
 806 N.Y.S.2d 888 (N.Y. App. Div. 2006), pet. for rev. dismissed, 857 N.E.2d 1139 (2006).


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 so far as I am aware, that a pretrial deposition or pretrial interrogatories were other than

 wholly private to the litigants.” Gannett Co. v. DePasquale, 443 U.S. at 396 (Burger, C.J.,

 concurring), cited with approval in Seattle Times Co. v. Rhinehart, 467 U.S. at 33 (emphasis

 added); see also Tillman v. C.R. Bard, Inc., 297 F.R.D. 660, 662–63 (M.D. Fla. 2014)

 (“Even assuming some limited right to disseminate information obtained in discovery,

 the Supreme Court has made clear that such right is subject to Rule 26(c)’s good cause

 standard.”). Courts generally should not permit public access to discovery materials

 that are not filed with substantive motions because discovery is “essentially a private

 process” meant to “assist trial preparation.” Anderson, 799 F.2d at 1441. As one Middle

 District of Florida opinion framed it,

        The Supreme Court has recognized that, despite liberal rules of
        discovery, “[i]t does not necessarily follow . . . that a litigant has an
        unrestrained right to disseminate information that has been obtained
        through pretrial discovery.” See Seattle Times Co. v. Rhinehart, 467 U.S. 20,
        31 (1984). And, there exists here the potential for discovery abuse. Id. at
        35 (characterizing disseminating information that “if publicly released
        could be damaging to reputation and privacy” as an “abuse of [a court’s]
        processes”).

 3B Med., Inc. v. ResMed Corp., No. 8:15-CV-546-T-23TBM, 2016 WL 9527960, at *2

 (M.D. Fla. Sept. 15, 2016). Indeed, “[v]ideotaped depositions are permitted to

 facilitate the presentation of evidence to juries; they are not intended to provide ‘a

 vehicle for generating content for broadcast and other media.’” Stern, 529 F. Supp. 2d

 at 422–23 (quoting Paisley Park, 54 F. Supp. 2d at 349).




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        This Court should follow many others and order any deposition transcripts and

 recordings be kept confidential.4 This is not a case where Plaintiff has agreed to use

 the deposition and any transcript or recording only in connection with the litigation;

 indeed Plaintiff has refused to enter into a confidentiality agreement. Cf. Robinson v. De

 Niro, No. 19-CV-9156 (KHP), 2022 WL 274664, at *2 (S.D.N.Y. Jan. 26, 2022)

 (denying protective order when confidentiality agreement in place to ensure “Plaintiff

 may not republish the deposition transcript or video in any manner.”). As a such, if

 the Court does order depositions to proceed, a protective order is necessary to preserve

 the confidentiality of any deposition recordings or transcripts.

                                        III.    Conclusion

        For the foregoing reasons, Defendants Senator Warren and Secretary Buttigieg

 respectfully ask that this Court grant their motion for protective order.




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   See Burgess v. Wallingford, No. 3:11–CV–1129, 2012 WL 4344194, at *14 (D. Conn. Sept. 21, 2012)
 (holding that audio recordings of deposition could be used solely by parties to prepare for trial, no
 party was allowed to publish or disseminate recordings without prior permission of court); Larson v.
 Am. Fam. Mut. Ins. Co., No. 06–cv–01355, 2007 WL 622214, at *2 (D. Colo. Feb. 23, 2007) (“video
 depositions taken in this case may not be used for any purpose unrelated to this lawsuit, unless that
 portion of the deposition is admitted at trial into evidence and is, therefore, properly a part of the
 public record”); Margiotta v. City of Gloversville, No. 607CV0560DNHGHL, 2008 WL 11505863, at *4
 (N.D.N.Y. Aug. 11, 2008) (“the parties and counsel are not to disseminate deposition transcripts,
 videotapes of depositions”); Lopez v. CSX Transp., Inc., No. CIV.A. 3:14-257, 2015 WL 3756343, at *7
 (W.D. Pa. June 16, 2015) (“recordings of the depositions shall be used solely for the purpose of the
 instant litigation and shall not be disseminated to individuals or sources not involved in the present
 litigation”); Barket v. Clark, No. 2:12–cv–00393, 2013 WL 647507, at *3–4 (D. Nev. Feb. 21, 2013)
 (“good cause exists for entry of a protective order that precludes either party from publicly
 disseminating, on the internet or otherwise, the depositions of the parties taken in this action”);
 ZeniMax Media, Inc. v. Oculus VR, LLC, No. 3:14-CV-1849-K (BF), 2016 WL 11430477, at *2 (N.D.
 Tex. June 2, 2016) (“The Court finds that there is no need to subject [deponent] to any embarrassment
 or annoyance associated with public scrutiny of the deposition materials”).


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  Filed: April 5, 2022                Respectfully submitted,

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                     LOCAL RULE 3.01(g) CERTIFICATION

       I hereby certify that Defendants attempted to confer in good faith with Plaintiff’s

 counsel about this discovery dispute via emails, telephone calls, and one in-person

 meeting since February. Plaintiff’s counsel opposes this motion.


                                         /s/ Frederick S. Wermuth
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                             CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2022, I filed a copy of the foregoing Defendants’

 Motion for Protective Order with the Clerk of the Court using the CM/ECF system,

 which will send notification of such filing to all counsel of record.


                                          /s/ Frederick S. Wermuth
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